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                        Exhibit A
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   10.       INTEGRATION

             This Joint Stipulation contains the entire agreement between the parties relating to the

  settlement and transactions contemplated hereby, and all prior or contemporaneous agreements,

  understandings, representations, and statements, whether oral or written and whether by a party

  or such party’s legal counsel, are merged herein. No rights hereunder may be waived except in

  writing.

  11.      BINDING ON SUCCESSORS AND ASSIGNS

           This Joint Stipulation shall be binding upon and inure to the benefit of the parties and

  their respective heirs, trustees, executors, administrators, successors, and assigns.

  12.      PARTIES’ AUTHORITY

           The signatories hereto represent that they are fully authorized to enter into this Joint

  Stipulation and bind the respective parties to its terms and conditions.


  Dated:                                                           V.        /1)
                                                        Dated:



                                                               Z             2Z-
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 ATTORNEYS FOR PLAINTIFFS                               ATTORNEYS FOR DEFENDANTS




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